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      1   Law Offices of
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          Matthew C. Davidson, SBN 015021
      4   Attorney for Defendant

      5
                           IN THE UNITED STATES DISTRICT COURT FOR THE
      6
                                  EASTERN DISTRICT OF CALIFORNIA
      7

      8
          UNITED STATES OF AMERICA,                ) CR-08-00379-002-OWW
      9                                            )
                        Plaintiff,                 ) STIPULATION TO CONTINUE SENTENCING
     10                                            )
                  vs.                              ) DATE: August 31, 2009
     11                                            ) TIME: 1:30 p.m.
          FRANCISCO RUIZ,                          ) HONORABLE OLIVER W. WANGER
     12                                            )
                        Defendant.                 )
     13                                            )

     14           Excludable delay under 18 U.S.C. §3161(h)(1)(F) will occur as a

     15   result of this motion or of an order based thereon.

     16           The Defendant, by and through undersigned counsel hereby

     17   stipulate and request that the sentencing, currently set for August

     18   31, 2009, be continued for sixty days. The parties to the above-

     19   captioned matter jointly agree to vacate the August 31, 2009,

     20   sentencing in this matter in order to: (1)prepare and to accumulate

     21   mitigation material; (2)Counsel for Defendant will be commencing a

     22   jury trial on September 1, 2009; and (3)Counsel will be commencing a

     23   Federal jury trial on September 29, 2009.

     24           Therefore, the parties stipulate to continue this sentencing for

     25   sixty days, and further respectfully request the Court to order the

          same.    The parties further request that time be excluded to and


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      1   through sixty days, in that the ends of justice served by a

      2   continuance “outweigh the best interests of the public and the

      3   defendant in a speedy trial.”        See 18U.S.C. 3161(h)(8).

      4   DATED: August 4, 2009

      5                                                           /s/Matthew C. Davidson
                                                                    Matthew C. Davidson,
      6                                                             Attorney for
                                                                    Defendant
      7

      8
                IT IS SO ORDERED.
      9
                Dated: August 5, 2009                   _/s/ OLIVER W WANGER___________
     10
                                                        Oliver W Wanger
     11                                                 United State District Judge

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